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Chritian Velasquez Jnauary.IL 2018
950 High Street
Central Fa].ls, Rl 02863 /6 __C"l<_/O/G 5,_/}7{_'_¢¢)
Mark L. Wolf EZ§: §§ §§
United States District Judge EBEJ §§ 52
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one courthouse way 02210 ;'~35.'3; C:° §§
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RE: United States v. Christian Velasquez §§§g §§ §§
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Dear Judge Wolf;

l am the defendant in the above-mentioned case. The purpose
of this letter is to inform the court of my difficulty communicat-
ing with assigned cousel Carlos Domiguez. I have maid numerous
calls that have gone unanswered. When family members call they
have been unable to reach him, and vioce messeages left on my
behalf have not been respondedrto.

My sentencing date has been changed. l have reached out several
times, as my family has also, trying to confirm my sentencing date
so that family, friends and loved ones can make arrangments to be
there in show of support. Counsel Domguez has been unreachable since
my change of plea. when I call him from the facility a recording
informs me he has no funds in his account to receive calls. This
treatment would be unacceptable if l were a paying client and I
shoukinot have to suffer because he has been appointed and l am
not a paying client.

l request this court direct counsel to keep my family informed,
and to provied a direct means of communication that l may utilize

in the event something comes up that needs his immediate attention.

Respectfully,

 

Christion Velasquez~ 99607-038

 

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